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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA



                                                            CASE NUMBER
 WELLS FARGO
                                                               1:17−cv−20266−DPG
                                     PLAINTIFF(S)

                            v.

 JOHN F. BONABY, et al.,

                                    DEFENDANT(S).




                             NOTICE AND CONSENT TO PROCEED BEFORE A
                                 UNITED STATES MAGISTRATE JUDGE



      Notice of Right to Consent to Proceed Before a Magistrate Judge. Parties may consent to have the Magistrate
 Judge assigned to this civil action conduct any and all further proceedings (including the trial) and order the entry
 of judgment. The judgment may then be appealed directly to the United States Court of Appeals like any other
 judgment of this Court. The Magistrate Judge may exercise this authority only if all parties voluntarily consent.
 Parties may consent to have this case referred to the Magistrate Judge, or may withhold consent without adverse
 substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
 otherwise be involved with your case. If the parties agree to consent, they should submit the consent form signed
 by all parties in the following format:



      Consent to Proceed Before a Magistrate Judge. In accordance with the provisions of 28 U.S.C. § 636(c) and
 Rule 3(b) of the Local Magistrate Judge Rules, the parties to the above captioned civil matter hereby waive their
 right to proceed before a District Judge of this Court and consent to have the Magistrate Judge currently assigned
 to the case William C. Turnoff conduct any and all further proceedings in the case (including the trial) and order
 the entry of judgment. The parties do not consent to the reassignment to any other or successor Magistrate Judge.


 _______________________________________                   _______________________________________
 Party/Attorney Printed Name                               Party/Attorney Printed Name

 _______________________________________                   _______________________________________
 Signature of Party or Attorney for ____________           Signature of Party or Attorney for ____________

 _______________________________________                   _______________________________________
 Date                                                      Date




 Note:   After completing and signing this form, file it with the Clerk of Court.
